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                                                       February 1, 2022
 VIA ECF

 Hon. Margo K. Brodie
 United States District Judge
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East, Room N 626
 Brooklyn, NY 11201

          Re:      Klimovitsky v. JG Innovative Industries, Inc., et al.
                   Case No. 21-CV-755 (MKB)(RER)

 Dear Judge Brodie:

        This firm represents the defendants in the above-referenced action. Pursuant to Rule
 3(A)(i) of Your Honor’s Individual Practices and Rules, I write to request a pre-motion
 conference and/or leave to file a motion pursuant to Fed. R. Civ. P. 12(b)(6) and 12(b)(1) seeking
 to dismiss the Fifth, Sixth, and Seventh causes of action set forth in the plaintiff’s second
 amended complaint for failure to state a claim upon which relief can be granted, and seeking to
 dismiss the Eighth through Thirteenth causes of action for lack of subject-matter jurisdiction.

         Plaintiff commenced this action on February 11, 2021 by filing her original complaint
 (ECF No. 1), which alleges wage and hour claims in violation of the Fair Labor Standards Act
 (“FLSA”) and New York Labor Law (“NYLL”), as well as claims of workplace discrimination,
 harassment, and retaliation pursuant to Title VII of the Civil Rights Act of 1964 (“Title VII”), the
 NYS Human Rights Law (“NYSHRL”), and the NYC Human Rights Law (“NYCHRL”). On
 April 26, 2021, defendants filed a pre-motion conference request letter (ECF No. 9) stating their
 intention to file a motion to dismiss the Title VII claims in the plaintiff’s original complaint for
 failure to state a claim upon which relief can be granted, as well as the NYSHRL and NYCHRL
 claims for lack of supplemental jurisdiction.

         On May 24, 2021, plaintiff filed her first amended complaint (ECF No. 12) attempting to
 cure the pleading deficiencies raised by defendants in their pre-motion conference letter.
 Defendants moved to dismiss the Plaintiff’s Title VII claims as asserted in plaintiff’s first
 amended complaint pursuant to Fed. R. Civ. P. 12(b)(6) for failure to state a claim upon which
 relief can be granted and failure to exhaust administrative remedies by obtaining a “right-to-sue”
 letter from the United States Equal Employment Opportunity Commission (“EEOC”). This
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 motion was fully briefed by the parties on July 1, 2021 (ECF Nos. 15 – 19) and submitted for the
 Court’s decision. On December 1, 2021, the Court issued an Order (ECF No. 21) granting the
 defendants’ motion and dismissing the plaintiff’s Title VII claims as asserted in the first
 amended complaint on the grounds that plaintiff had failed to exhaust her administrative
 remedies, and dismissing the plaintiff’s NYSHRL and NYCHRL claims for lack of supplemental
 jurisdiction. In doing so, the Court did not reach the merits of the remaining arguments asserted
 by defendants in the motion to dismiss, as it was unnecessary to do so.

         On January 18, 2022, plaintiff filed her second amended complaint (ECF No. 26), curing
 her previous deficiency of failing to plead exhaustion of administrative remedies and attaching a
 copy of her “right-to-sue” letter from the EEOC. With the sole exception of the added
 allegations regarding the “right-to-sue” letter, the plaintiff’s second amended complaint is
 otherwise identical to her first amended complaint. As such, defendants contend that the
 plaintiff’s Title VII claims as set forth in her second amended complaint suffer from the same
 pleading deficiencies as existed in the first amended complaint, specifically that the plaintiff has
 not adequately alleged that defendant J.G. Innovative Industries Inc. constituted the plaintiff’s
 “employer” pursuant to Title VII. Accordingly, defendants now seek to re-assert such argument
 with respect to the plaintiff’s Title VII claims (causes of action Five, Six and Seven) in the
 second amended complaint, and once again seek dismissal of such claims pursuant to Fed. R.
 Civ. P. 12(b)(6) for failure to state a claim upon which relief can be granted. Defendants also
 once again seek dismissal of the of plaintiff’s NYSHRL and NYCHRL claims (causes of action
 Eight through Thirteen) pursuant to Fed. R. Civ. P. 12(b)(1) for lack of subject-matter
 jurisdiction, as this Court would lack supplemental jurisdiction over such state and municipal law
 claims in the absence of any Title VII claims.

         While defendants are prepared to re-file their previous motion papers should the Court
 deem it necessary, defendants respectfully submit that there is no reason to do so. As stated
 above, the Plaintiff’s Title VII allegations in the second amended complaint are identical to those
 set forth in the first amended complaint. The grounds for the defendants’ motion to dismiss are
 the same as in the prior motion and such arguments have already been fully briefed by the parties
 (ECF Nos. 15 – 19). For these reasons, defendants respectfully request that the Court deem
 defendants’ new motion to dismiss as already fully briefed and submitted for the Court’s
 decision. Doing so will save the parties and the Court time and resources.

        I thank the Court for its time and attention to this matter.

                                                       Respectfully Submitted,

                                                          /s/Nils C. Shillito

                                                       Nils C. Shillito (NS-6755)

 cc:    Shalom Law, PLLC (via ecf)
